         Case 2:19-cv-01081-CJB Document 6 Filed 04/15/19 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

MICHELLE KRISTINE KING                                       CIVIL ACTION

VERSUS                                                       NO. 19-1081

BP EXPLORATION                                               SECTION “J” (2)
& PRODUCTION, INC. ET AL.

Related to: 12-968 BELO
            In MDL 2179 (10-md-2179)

                                      ORDER

      The Court, having considered the complaint, the record, the applicable law, the

Report and Recommendation of the United States Magistrate Judge (Rec. Doc. 5), and

the failure of plaintiff to file an objection to the Magistrate Judge’s Report and

Recommendation, hereby approves the Report and Recommendation of the United

States Magistrate Judge and adopts it as its opinion in this matter. Therefore,

      IT IS ORDERED that defendants’ motion to dismiss (Rec. Doc. 4) is

GRANTED and that plaintiff=s complaint is hereby DISMISSED WITH

PREJUDICE.

      New Orleans, Louisiana, this 15th day of April, 2019.



                                          ____________________________________
                                                    CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
